Case 22-40487-mxm11 Doc 287 Filed 04/27/22            Entered 04/27/22 16:33:51       Page 1 of 4




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 In re:                              §     Case No. 22-40487-mxm11
 FORE MACHINE, LLC                   §
 Debtor                              §     Chapter 11
                                     §
                                     §
                                     §
 _____________________________________________________________________________

                    FIRST AMENDED NOTICE OF HEARING
 _____________________________________________________________________________

         Please be advised that if a timely answer is filed, a final hearing on U.S. Bank National
 Association d/b/a U.S. Bank Equipment Finance’s Motion for the Entry of Order for Relief from
 the Automatic Stay Pursuant to Section 362(d) of the Bankruptcy Code, and Rule 4001 of the
 Federal Rules of Bankruptcy Procedure will be held at 9:30 AM on May 11, 2022, in the United
 States Bankruptcy Courthouse, Room 128, 501 W. Tenth Street, Fort Worth, Texas 76102.


 Dated: April 27, 2022
                                                            Respectfully submitted,


                                                            LAM, LYN & PHILIP, PC

                                                        By: /s/ Elizabeth Briscoe
                                                            Elizabeth Briscoe
                                                            State Bar No. 24107075
                                                            ebriscoe@llppc-law.com
                                                            Kurt L. Lyn
                                                            State Bar No. 00786078
                                                            klyn@llppc-law.com
                                                            Joni M. Fraser
                                                            State Bar No. 24089878
                                                            jfraser@llppc-law.com
                                                            6213 Skyline Drive, Ste. 2100
                                                            Houston, Texas 77057
                                                            Tel: 713-981-0900
                                                            Fax: 713-772-7085
                                                            Attorneys for U.S. Bank
Case 22-40487-mxm11 Doc 287 Filed 04/27/22             Entered 04/27/22 16:33:51       Page 2 of 4




                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was served on the 27th day of April
 2022, to the parties listed below either electronically or by U.S. first class mail:


                                                             /s/ Elizabeth Briscoe
                                                             Elizabeth Briscoe

 Fore Machine, LLC                                           U.S. First Class Mail
 5933 Eden Drive
 Haltom City, TX 76117
 Debtor

 James T. Bentley
 Winston & Strawn LLP
 200 Park Ave.
 New York, NY 10166
 jbentley@winston.com
 Attorney for Debtor

 United States Trustee
 1100 Commerce Street, Room 976
 Dallas, Texas 75202
 ustpregion06.da.ecf@usdoj.gov
 United States Trustee

 Elizabeth Ziegler Young
 U.S. Trustee Office
 1100 Commerce Street, Room 976
 Dallas, TX 75242
 elizabeth.a.young@usdoj.gov
 Attorney for United States Trustee

 Carrie V. Hardman, Winston & Strawn LLP
 200 Park Avenue
 New York, NY 10166
 chardman@winston.com
 Attorney for Jointly Administered Party/Debtors Fore Capital Holding, LLC, Fore Aero
 Holdings, LLC and Aero Components, LLC

 Laurie A. Spindler, Linebarger Goggan Blair & Sampson, LLP
 2777 N. Stemmons Frwy Ste 1000
 Dallas, TX 75207
 Laurie.Spindler@lgbs.com
 Attorney for Creditor Tarrant County
Case 22-40487-mxm11 Doc 287 Filed 04/27/22          Entered 04/27/22 16:33:51   Page 3 of 4




 Joe E. Marshall, Marshall Law
 2626 Cole Ave., Suite 300
 Dallas, TX 75204
 jmarshall@marshalllaw.net
 Attorney for Creditor Southfield Mezzanine Capital, L.P.

 J. Michael Sutherland, Carrington Coleman Sloman & Blumenthal
 901 Main Street, Suite 5500
 Dallas, TX 75202-3767
 msutherland@ccsb.com
 Attorney for Creditor Regions Bank

 M. Jermaine Watson, Cantey Hanger LLP
 Cantey Hanger Plaza
 600 West 6th Street, Suite 300
 Fort Worth, TX 76102-3685
 jwatson@canteyhanger.com
 Attorney for Creditor Committee Official Unsecured Creditors' Committee

 Joe E. Marshall, Marshall Law
 2626 Cole Ave., Suite 300
 Dallas, TX 75204
 jmarshall@marshalllaw.net
 Attorney for Creditor NewSpring Mezzanine Capital III, L.P.

 Amber Lauren James, AmberJames, PLLC
 1316 5th Avenue
 Fort Worth, TX 76104
 amberjames@wtxlaw.com
 Attorney for Creditor GracoRoberts

 Brian Joel Smith, Whitaker Chalk Swindle & Schwartz PLLC
 301 Commerce Street, Suite 3500
 Fort Worth, TX 76102-4135
 BSmith@whitakerchalk.com
 Attorney for Creditor A.J. Rod Company, Ltd.

 Katherine T. Hopkins, Kelly Hart & Hallman
 201 Main Street, Suite 2500
 Fort Worth, TX 76102
 katherine.thomas@kellyhart.com
 Attorney for Creditor Eden Fort Worth Industrial, LLC
Case 22-40487-mxm11 Doc 287 Filed 04/27/22        Entered 04/27/22 16:33:51   Page 4 of 4




 Eboney D. Cobb, Perdue Brandon Fielder Collins & Mott
 500 E. Border St, Suite 640
 Arlington, TX 76010
 ecobb@pbfcm.com
 Attorney for Creditor City of Haltom City

 Annmarie Antoniette Chiarello, Winstead PC
 2728 N. Harwood Street
 500 Winstead Building
 Dallas, TX 75201
 achiarello@winstead.com
 Attorney for Creditor Bell Textron, Inc.

 Jeff P. Prostok, Forshey & Prostok, LLP
 777 Main St., Suite 1550
 Ft. Worth, TX 76102
 jprostok@forsheyprostok.com
 Attorney for Creditor Aero Components, Inc.
